Case 21-22494-GLT   Doc 34-1 Filed 01/21/22 Entered 01/21/22 10:09:52 Desc
                        Proposed Order Page 1 of 4             FILED
                                                               1/24/22 10:38 am
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                                                               U.S. BANKRUPTCY
                                                               COURT - :'3$




                                            Related Dkt. No. 34
Case 21-22494-GLT   Doc 34-1 Filed 01/21/22 Entered 01/21/22 10:09:52   Desc
                        Proposed Order Page 2 of 4
Case 21-22494-GLT   Doc 34-1 Filed 01/21/22 Entered 01/21/22 10:09:52   Desc
                        Proposed Order Page 3 of 4
Case 21-22494-GLT   Doc 34-1 Filed 01/21/22 Entered 01/21/22 10:09:52   Desc
                        Proposed Order Page 4 of 4




      1/24/22
